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                          EXHIBIT A -- McDermitt Deadlines

    DEADLINE                                       TASK

      12/6/19    Fact Discovery Closes
      12/13/19   Plaintiff Expert Disclosures & Reports
       1/6/20    Deadline for Conducting Independent Medical Examinations
      1/13/20    Defendant Expert Disclosures & Reports
      2/13/20    Expert Discovery Closes
      2/20/20    Daubert and Summary Judgment Motions
      2/17/20    Affirmative Depo Designations by Page and Line
      2/17/20    Preliminary Witness and Exhibit List
      2/27/20    Counter Depo Designations and Objections
       3/9/20    Re-direct Depo Designations, Responses to Objections, and Objections to
                 Counter Designations

       3/9/20    Motions in Limine and to Bifurcate Issues and Claims

      3/11/20    Final Witness List and Notice of Witnesses to Attend Trial
      3/16/20    Objections to Re-direct Depo Designations and Responses to Objections
                 to Counter Designations

      3/18/20    Responses to Daubert and Motions for Summary Judgment
      3/23/20    Responses to Motions in Limine
      3/23/20    Responses to Objections to Re-direct Depo Designations & Submit to
                 Court for Rulings

      3/25/20    Parties Submit Stipulations of Facts, Trial Briefs, and Notice to Court of
                 Use of Evidence Presentation Equipment

      3/27/20    Jury Instructions & Verdict Forms

       4/1/20    Replies to Daubert and Motions for Summary Judgment



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       TBD       Hearing on Daubert, Summary Judgment, and In Limine Motions

       TBD       Final Pretrial Conference

      4/27/20    Jury Selection

      4/27/20    Trial Start Date




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